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                                      UNITED STATES DISTRICT COURT
                                         DISTRICT OF NEW JERSEY
                                            NEWARK DIVISION

    ---------------------------------------------------------------x

    CHRISTOPHER E. BROWN,
    an individual,

            Plaintiff,
    v.                                                                  Civ. No.: 2:17-cv-00503-CCC-SCM

    HUDSON ASSOCIATES LIMITED PARTNERSHIP,
    a New Jersey Limited Partnership,

             Defendant.
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                     NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

            Pursuant to F.R.C.P. 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, Plaintiff,

    Christopher E. Brown, by and through his counsel(s), hereby gives notice that the above

    captioned action is voluntarily dismissed, with prejudice against the defendant, Hudson

    Associates Limited Partnership.

    Dated: June 15, 2017

                                                         Respectfully submitted,

                                                         By: /s/ Elizabeth T. Foster
                                                         Elizabeth T. Foster, Esq.
SO ORDERED                                               ATTORNEY AT LAW, LLC
                                                         Of Counsel
    s/Claire C. Cecchi                .                  22 E. Quackenbush Ave.
Claire C. Cecchi, U.S.D.J.                               Dumont, NJ 07628
                                                         201 290 5761
                                                         201 215 9574 (fax)
Date: 6/16/17                                            Liztlaw@gmail.com

                                                         Attorney for Plaintiff
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